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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   ROBERT SULLIVAN, et al.,

11                  Plaintiffs,                           Civ. No. S-10-0384 KJM EFB
             vs.
12
                                                          ORDER
13   JP MORGAN CHASE BANK, NA, et al.,

14                  Defendants.
                                               /
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                    On February 12, 2010, defendant removed this case from Nevada County
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     Superior Court and on February 17, 2010 filed a motion to dismiss. ECF Nos. 1, 7. On June 30,
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     2010, the court granted the motion in part and denied the motion in part, giving plaintiffs leave
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     to file a first amended complaint.
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                    Plaintiffs’ first amended complaint was filed on July 9, 2010, raising the
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     following claims: (1) a Truth In Lending Act claim for damages; (2) a violation of the Rosenthal
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     Debt Collection Practices Act; (3) negligence; (4) fraud; (5) unfair competition, Cal. Bus. &
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     Prof. § 17200; (6) breach of contract and promissory estoppel; and (7) breach of the implied
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     covenant of good faith and fair dealing. ECF No. 17. Defendant again brought a motion to
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     dismiss. ECF No. 21.
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     /////
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 1                  On September 2, 2010, the court granted the motion to dismiss the TILA damage

 2   claim with prejudice and remanded the remaining state claims to Nevada County Superior Court.

 3   The docket notes that a copy of the remand order was sent to Nevada County Superior Court.

 4   ECF No. 26. A judgment was entered but vacated because plaintiff’s TILA rescission claim was

 5   still pending. ECF Nos. 27, 28.

 6                  Thereafter, the parties submitted a joint status report and the court issued a

 7   pretrial scheduling order. When the case was transferred to the undersigned, some amendments

 8   were made to the pretrial scheduling order. ECF No. 32.

 9                  On May 13, 2011, the parties asked for clarification about the status of the

10   remand and the court informed them the action was still pending as to the TILA rescission claim.

11   ECF Nos. 33, 34. On December 28, 2011, the plaintiffs dismissed the TILA rescission claim.

12   ECF Nos. 37, 38.

13                  On February 17, 2012, the parties filed a joint request that the state law claims be

14   remanded to Nevada County Superior Court.

15                  Although the court had earlier issued an order remanding the state law claims, the

16   continued viability of the TILA rescission claim was confusing to the Nevada County Superior

17   Court. See ECF No. 33.

18                  Accordingly, in light of plaintiffs’ dismissing their only remaining federal claim,

19   this court declines to exercise its supplemental jurisdiction over the remaining state claims and

20   remands plaintiffs’ remaining six causes of action to Nevada County.

21                  IT IS SO ORDERED.

22   DATED: February 29, 2012.

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                                                          UNITED STATES DISTRICT JUDGE
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